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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                             Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit H
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                                 DEPARTMENT OF THE TREASURY
                                    INTERNAL REVENUE SERVICE
                                      WASHINGTON, D.C. 20224

  COMMISSIONER



                                           April 23, 2019




The Honorable Richard E. Neal
Chairman
Committee on Ways and Means
U.S. House of Representatives
Washington, DC 20515


Dear Chairman Neal:

We are in receipt of your letters dated April 3, 2019 and April 13, 2019, requesting returns and
return information pursuant to section 6103(f) of the Internal Revenue Code ("the Code").

As set forth in a letter sent to you on April 23, 2019, we understand that the Treasury
Department has referred your request to the U.S. Department of Justice for consideration and
analysis of issues that are beyond the scope of the internal revenue laws. Accordingly, we have
not made a final determination on how to respond to your request and are awaiting further
guidance and direction on legal issues external to the internal revenue laws before doing so.

If I can be of further assistance, please contact me, or a member of your staff can contact
Leonard Oursler, Director, Legislative Affairs, at 202-317-6985.
